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Fill in this information to identify the case:

 

United States Bankruptcy Court for the:

Saw Vd i

\\ ~ V \ 2 .

District of _|* © VARA 4G
(State)

Case number (if known): hapter me

 

L) Check if this is an
amended filing

eA

 

oi UH LS Ps
Official Form 201 t

Voluntary Petition-for Non-Individuals Filing for Bankruptcy 04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

wy ms .
i _ co >
1. Debtor’s name iS VD Rv al Or | L L C

 

c c
2. All other names debtor used > AN é
in the last 8 years

 

Include any assumed names,

 

trade names, and doing business

 

as names

 

 

cy <2, D ft
3. Debtor’s federal Employer Oz Oo 7 2 | a { S
Identification Number (EIN) ToT NTT TT

 

 

4. Debtor’s address Principal place of business Mailing address, if different from principal place
354 4 of business
IIgG & i Yue
(& Haw ay ve
Number Street Number Street

 

 

P.O. Box

 

wv Vevey NV SIZ |
—y

City

 

State ZIP Code City State ZIP Code

Location of principal assets, if different from

 

 

 

 

 

Cc principal place of business
lark
Cc
ounly Number Street
City State ZIP Code
5. Debtor's website (URL) NOW &

 

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
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Debtor

Case number (if known),

 

Name

6. Type of debtor

‘Xl corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
Q) Partnership (excluding LLP)

CJ other. Specify:

 

 

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “smail business
debtor” must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor”) must
check the second sub-box.

Official Form 201

A. Check one:

Health Care Business (as defined in 11 U.S.C. § 101(27A))
OQ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
L) Railroad (as defined in 11 U.S.C. § 101(44))

C) Stockbroker (as defined in 11 U.S.C. § 101(53A))

O Commodity Broker (as defined in 11 U.S.C. § 101(6))

) Clearing Bank (as defined in 11 U.S.C. § 781(3))

C) None of the above

B. Check all that apply:

C) Tax-exempt entity (as described in 26 U.S.C. § 501)

L)} investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

L) Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http://www. uscourts. gov/four-digit-national-association-naics-codes .

Check one:

L) Chapter 7
LJ Chapter 9
A Chapter 11. Check all that apply:

U) The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federai

income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

L) The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax retum, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

(J A plan is being filed with this petition.

L) Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

C) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

L) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

CQ Chapter 12

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case 21-10211-abl

Debtor

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Case number (if known)

 

Name

Page 3 of 9

 

9. Were prior bankruptcy cases #No
filed by or against the debtor

within the last 8 years? Q) Yes.

If more than 2 cases, attach a

District

When
MM / DD /YYYY

Case number

 

 

separate list. District When Case number
MM / DD /YYYY
10. Are any bankruptcy cases Pino
pending or being filed by a
business partner or an C} Yes. Debtor Relationship
affiliate of the debtor? District When

List all cases. If more than 1,
attach a separate list.

 

Case number, if known

 

MM / DD /YYYY

 

1t. Why is the case filed in this Check all that apply:

district?

g Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

OA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have Dkr
possession of any real
property or personal property
that needs immediate
attention?

U2 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check aif that apply.)

C) tt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

C) it needs to be physically secured or protected from the weather.

L) It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

QC) other

Where is the property?

 

 

Number Street

 

 

City

Is the property insured?

C) No

OQ) Yes. Insurance agency

State ZIP Cade

 

Contact name

 

Phone

 

 

| | Statistical and administrative information

Official Form 201 Voluntary Petition for Non-Individuats Filing for Bankruptcy

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Case 21-10211-abl

Debtor

Case number (if known)

 

Name

13. Debtor's estimation of Check one:

available funds

ud Funds will be available for distribution to unsecured creditors.

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C) After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

 

ts

14. Estimated number of

 

LU) 25,001-50,000

 

creditors (J 50-99 LJ 5,001-10,000 (J 50,001-100,000
LC) 100-199 (J 10,001-25,000 LQ More than 100,000
UL) 200-999
LJ $0-$50,000 CJ $1,000,001-$10 million U2 $500,000,001-$1 billion

15. Estimated assets Q $50,001-$100,000

C2 $100,001-$500,000
fa $500,001-$1 million

LJ $10,000,001-$50 million
CL) $50,000,001-$100 million
CJ $100,000,001-$500 million

LJ $1,000,000,001-$10 billion
{3 $10,000,000,001-$50 billion
LJ More than $50 billion

 

CJ $0-$50,000

LQ $50,001-$100,000
C2 $100,001-$500,000
C2 $500,001-$1 million

16. Estimated liabilities

$F$1,000,001-$10 million

LJ $10,000,001-$50 miltion
LJ $50,000,001-$100 million
L) $100,000,001-$500 million

 

ae -:: for Relief, Declaration, and Signatures

LJ $500,000,001-$1 billion

CJ $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
CQ More than $50 billion

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to

$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of

tition.
debtor pen

| have been authorized to file this petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

| have examined the information in this petition and have a reasonable belief that the information is true and

correct.

| declare under penalty of perjury that the foregoing is true and correct.

e115 202)
On" 4 DD /YYYY ‘)

x LN a Ue Ge

Signature $fauthorized representative of debtor

Executed on

Title Mend feng Wea UA

NAVN EET

Printed name

M- SHARD4

 

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Voluntary Petition for Non-Individuals Filing for Bankruptcy

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Debtor Case number (if known)
Name
18. Signature of attorne
g y x Date

Signature of attorney for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

 

Official Form 201 Voluntary Petition for Non-!ndividuais Filing for Bankruptcy page 5
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Fill in this information to identify the case:

Debtor name @ RS a ud cn ce

United States Bankruptcy Court for the: District of
(State)

L) Check if this is an

Cc. ber (If k : i
ase number (If known) amended filing

 

 

Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders 12/45

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.

 

Name of creditor and complete. - Name, telephone number, and Nature of the claim indicate tf _ Amount of unsecured claim
malling address, including zip code | _smail address of creditor (for example, trade claim Is “ff the claim is fully unsecured, fill in-onty unsecured
| Sontact debts, bank loans, contingent, — cjaim arnount. if Gaim is partially secured, fill in
professional unliquidated, total claim amount and deduction for value of
ee or disputed collateral or setoff to calculate unsecured claim.
contracts)
Total claim, if | Deduction for © Unsecured
: _ partially value of claim
_ secured collateral or
setoff
Fivst Rivayciae Robert Quele, sud omen an Kuo’ on gas
oa Sre B-205 anknewn
LV NY gajor

 

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Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 1
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Debtor 7 Case number (if known)
Name of creditor and complete : Name, telephone number, and: Nature of the claim: Indicate if : _-Apount of unsecured claim
mailing address, inchiding zip code _ email address of creditor (for example; trade. claim is _f the claim is fully unsecured, fill in only unsecured
_ contact debts, bank loans, contingent, cai amount. if claim is partially secured, fill in
professional _total claim amount and deduction for value of
services, and or disputed / collateral or setoff to calculate unsecured claim.
\ government :
| contracts)
| Total claim, if Deduction for Unsecured
: partially value of claim
secured collateral or
setoff

9

10

11

12

13

14

15

16

17

18

19

20

Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 2

 

 
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Certificate Number: 15725-NV-CC-035272250

UA RAT A

15725-NV-CC-035272250

CERTIFICATE OF COUNSELING

I CERTIFY that on January 15, 2021, at 4:23 o'clock PM EST, Navneet Sharda
received from 001 Debtorcc, Inc., an agency approved pursuant to 11 U.S.C. 111
to provide credit counseling in the District of Nevada, an individual [or group]
briefing that complied with the provisions of 11 U.S.C. 109(h) and 111.

 

 

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: January 15, 2021 By: /s/Ambar Vasquez
Name: Ambar Vasquez

Title: Issuer

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).

 

 

 

 
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Jan 15, 2021

Statement of Debtor

| do not have the Balance Sheet, Statement of Operations, Cash Flow Statement as it has not
been done and my bookkeeper was unable to assist me this week.

BDS and Son, LLC
By n
Navneet Sharda,

Managing Member
